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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                    )
      v.                            )                CASE NO. 23-CR-119 (TSE)
                                    )
CONOR BRIAN FITZPATRICK,            )                 Sentencing: November 17, 2023
                                    )
      Defendant.                    )
___________________________________ )

                           MEMORANDUM IN SUPPORT OF
                     UNOPPOSED MOTION TO CONTINUE SENTENCING

       Defendant Conor Brian Fitzpatrick, by and through counsel, and with the consent of the

government, moved this Court to continue sentencing from November 17, 2023, to a date

convenient to the Court but not before January 15, 2024. In support thereof, Mr. Fitzpatrick

states as follows:

       On July 13, 2023, Mr. Fitzpatrick pled guilty to a two count Information charging him

with Conspiracy to Commit Access Device Fraud in violation of Title 18, United States Code,

Sections 1029(b)(2) and 3559(g)(1), and Access Device Fraud - Unauthorized Solicitation in

violation of Title 18, United States Code, Sections 1029(a)(6) and 2). Doc. 38. This Court set

sentencing for November 17, 2023.

       In support of his position at sentencing, Mr. Fitzpatrick has retained a number of experts

to evaluate various aspects of Mr. Fitzpatrick’s mental health. These issues have been brought

to the attention of the government. One of the experts, who is conducting a psycho-sexual

evaluation, has recently informed counsel that because of her workload, she does not believe she

can complete her evaluation and prepare a report in time for the current sentencing date. This




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expert has informed counsel that her report can be completed no sooner than December 15, 2023.

       AUSA Lauren Halper and DOJ Trial Attorney Aarash Haghighat have been advised of

the reasons for this request and have authorized counsel to represent that the government does

not oppose this motion.

       Mr. Fitzpatrick therefore requests this Court continue sentencing to a date not earlier than

January 15, 2024, in order to permit him to incorporate the expert’s report into his position on

sentencing.

                                              Respectfully submitted,

                                              CONNOR BRIAN FITZPATRICK,
                                              By Counsel

                                              /s/_________________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify on this 13th day of October, 2023, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)
to counsel of record. I further certify that a copy was emailed to the probation officer, Jennifer
D. Lyerly, Jennifer_Lyerly@vaep.uscourts.gov.

                                              /s/_____________________
                                              Nina J. Ginsberg




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